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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

                                           )
INLINE PACKAGING, LLC                      )       No.:
                                           )
                           Plaintiff,      )
vs.                                        )                  COMPLAINT
                                           )
GRAPHIC PACKAGING                          )           JURY TRIAL DEMANDED
INTERNATIONAL, INC.                        )
                                           )
                           Defendant.      )
                                           )

      Plaintiff Inline Packaging, LLC (“Inline”) for its Complaint against Defendant

Graphic Packaging International, Inc. (“Graphic” or “Defendant”), states and alleges as

follows:

                                   NATURE OF SUIT

      1.     This is an action involving claims for unfair competition, including tortious

interference with contracts and prospective business relations, misappropriation of trade

secrets, and monopolization.

      2.     Inline manufactures, among other things, susceptor food packaging, a type

of “active” packaging that converts microwave energy, in microwave ovens, to high

surface temperatures that crisp and brown foods. Inline competes with Graphic in the

susceptor food packaging market.

      3.     Graphic has engaged in predatory discount bundling practices that are

aimed at eliminating the ability for its smaller competitors to compete on the basis of

price. By offering large-unit bundles of both paperboard food packaging and susceptor
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food packaging, Graphic is able to out-price its smaller competitors and squeeze them out

of the susceptor food packaging market.

       4.       Graphic has deliberately interfered with its smaller competitors’ business

relationships with food company buyers by informing buyers that Graphic holds patents

for certain packages, when in fact some or all of such patents were expired, invalid, or

inapplicable.    In some cases, Graphic has also manufactured packaging using the

packaging inventions of other competitors in the marketplace.

       5.       Graphic has intentionally failed to mark its packaging with patent numbers

in an effort to bait its competitors into expending resources bidding for and creating

similar packaging for food company buyers.         After a competitor does so, Graphic

threatens and sometimes initiates sham litigation to unjustifiably raise rivals’ costs and

harm rivals’ reputation with food company buyers.

       6.       Inline believes this and related conduct has been undertaken in a complex

and deliberate scheme to maintain monopoly power. On information and belief, Graphic

has embarked on a long-term, systematic campaign of anticompetitive conduct in the

susceptor food packaging market.

       7.       Graphic’s anticompetitive conduct has foreclosed competition in the

susceptor food packaging market, which has harmed Inline in the form of lost business

opportunities, and harmed consumers in the form of higher prices and lower quality

packaging.




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                                      JURISDICTION

       8.       This Court has subject-matter jurisdiction over all causes of action asserted

herein under 28 U.S.C. § 1331 and § 1367(a). In the alternative, this Court has

jurisdiction under 28 U.S.C. § 1332.

       9.       This Court has personal jurisdiction over the parties, which both have

substantial contacts with the State of Minnesota due to their consistent, continuous

physical presence there. Both parties have physical offices and manufacturing facilities

in Minnesota.

       10.      This Court is a proper venue under 28 U.S.C. § 1391(b)(1).

                                          PARTIES

       11.      Inline is a Delaware limited liability company with its principal place of

business located at 1205 18th Ave. S., Princeton, MN 55371. Inline operates solely out

of its Princeton, MN facility.

       12.      Inline’s six owner-members, both natural and corporate, reside in

Minnesota, Florida, and Ohio: J.D. Watkins Enterprises, Inc. is a Minnesota corporation

with its principal place of business in Minnesota, Gene J. Monnin is a resident of Ohio,

William F. Reimer Revocable Trust is a trust established in Minnesota, James Watkins

GRAT is a trust established in Minnesota, Jeffrey T. Watkins is a resident of Minnesota,

and Roger P. Monnin is a resident of Florida. No member has residency status, under

28 U.S.C. § 1332, in Georgia or Delaware.




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      13.       Inline is a packaging company that manufacturers, among other things,

susceptor food packaging. It has been operating in the susceptor food packaging industry

for approximately 13 years.

      14.       Inline is a small player in the susceptor food packaging industry, with sales

of susceptor food packaging totaling about $4 million each year.

      15.       Inline sells to well-known food companies such as Nestlé, which package

foods using Inline’s products under popular brands such as Lean Cuisine.

      16.       Graphic is a Delaware corporation with its principal place of business

located at 1500 Riveredge Pkwy, Suite 100, Atlanta, GA 30328.

      17.       Graphic is one of the largest paperboard packaging companies in the United

States. Graphic maintains a 95% or greater share of the susceptor food packaging market

for crisping and browning susceptor packaging.

      18.       In 2014, Graphic’s total domestic sales of paperboard packaging, which

includes susceptor food packaging, were approximately $3.4 billion. On information and

belief, Graphic’s annual, domestic susceptor food packaging revenues total about

$210 million.

      19.       As of December 31, 2014, Graphic had a portfolio of over 1,900 U.S. and

foreign patents. On information and belief, in 2008, Graphic held over 1,300 U.S. and

foreign patents. Graphic has engaged in an aggressive effort to apply for and acquire

patents related to food packaging, including susceptor food packaging.




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                              FACTUAL BACKGROUND

       20.    Inline and Graphic are competitors in the susceptor food packaging

industry. In particular, Inline and Graphic have competed for supply contracts with food

company buyers such as Nestlé, Heinz, Little Lady Foods, Nation Pizza Products,

Smuckers, and others.

       21.    Inline and Graphic primarily compete with each other in the manufacture

and supply of susceptor food packaging, specifically that which crisps and browns.

       22.    On information and belief, Inline is more efficient at producing susceptor

food packaging and can sell high-quality susceptor food packaging at lower prices than

Graphic, without selling below cost.

                                   Discount Bundling

       23.    Graphic operates not only in the susceptor food packaging market, but also

in the market for paperboard food packaging, which provides paperboard or cardboard

packaging for consumer food products. The paperboard food packaging market is up to

400 times larger than the susceptor food packaging market. Inline does not participate in

the paperboard food packaging market to any significant degree.

       24.    Graphic has and continues to maintain its monopoly in the susceptor food

packaging market by, in part, offering packaging bundles to large food company buyers.

These bundles include both paperboard food packaging and susceptor food packaging.

Graphic offers large bundles at a discount, so that the paperboard food packaging,

susceptor food packaging, or both are sold at a discount in very large quantities.




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      25.    The quantities of susceptor food packaging ordered as part of these bundles

is much smaller than the quantities of paperboard food packaging since the needs of food

company buyers for paperboard food packaging is much greater than the need for

susceptor food packaging.

      26.    Because of the high volume of paperboard food packaging sold by Graphic

in these discounted bundles, the discount on the paperboard portion of the bundle

represents a very significant cost savings for food company buyers who purchase

paperboard food packaging—but only if they also agree to purchase susceptor food

packaging from Graphic.

      27.    Food company buyers who receive these bundled discounts are therefore

reluctant to purchase susceptor food packaging from Graphic’s smaller competitors, like

Inline, unless the smaller competitor can offer a price on susceptor food packaging low

enough to offset the savings that food company buyers receive on the much-higher

volumes of paperboard food packaging they purchase from Graphic in discounted

bundles.

      28.    Because food company buyers commonly purchase far greater volumes of

paperboard than susceptor food packaging, smaller competitors cannot profitably offer

susceptor food packaging at a price low enough to compete with the discounts available

on paperboard food packaging through Graphic’s bundles. In this manner, Graphic has

significantly decreased Inline’s and other competitors’ ability and opportunities to

compete with Graphic on pricing for susceptor food packaging.




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                         Sham Litigation and Threats Thereof

       29.    Graphic is well-known in both the susceptor food packaging and broader

paperboard food packaging markets for being litigious and threatening both existing

competitors and potential new entrants with patent infringement and other claims.

       30.    On information and belief, Graphic has maintained its dominant position in

the susceptor food packaging market in part by engaging in aggressive and predatory

litigation tactics against its smaller rivals and potential new entrants. Prior to this time

and currently, Graphic’s tactics have foreclosed on the ability for Inline and other smaller

competitors to compete with Graphic on the bases of quality, price, and/or superior

business acumen.

       31.    For example, Graphic has threatened competitors and food company buyers

with patent infringement, sometimes of expired or inapplicable patents. On information

and belief, it has used and misused its intellectual property as a means to monopolize the

market through litigation and threats of litigation by raising rivals’ costs, both financial

and reputational, without regard to the end result of such litigation and/or threatened

litigation.

       32.    According to a (now former) Graphic representative, Graphic has instructed

its sales representatives to spend fifty percent of their time looking for opportunities to

make demands or litigate infringement and the other fifty percent of their time looking

for new sales opportunities.




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       33.    Graphic has, among other conduct, wielded its large patent and intellectual

property arsenal by issuing cease and desist and demand letters to its competitors,

alleging infringement.

       34.    On information and belief, Graphic has been successful in deterring

competition from potential new entrants into the susceptor food packaging market by

threatening patent infringement or making overtures thereof.

       35.    On information and belief, these and related tactics have been successful in

deterring competitors and food company buyers from moving forward with a new deal,

making an offer or bid to supply susceptor food packaging, and/or continuing operations.

       36.    On information and belief, due to the exorbitant costs of litigation,

Graphic’s smaller competitors are usually unable or unwilling to resist and either

acquiesce to Graphic’s demands or settle. Graphic’s size and considerable financial

resources render its threats real, immediate, and dangerous.

       37.    On information and belief, both competitors and food company buyers are

reluctant to openly resist Graphic’s anticompetitive conduct not only due to potential

costs and market characteristics, but also because Graphic’s size disincentivizes

resistance; large food company buyers need Graphic not only for susceptor food

packaging needs, but also for paperboard and other food packaging needs.

       38.    In particular, food company buyers are extremely reluctant to openly resist

or disregard Graphic’s threats against Graphic’s smaller competitors (also the food

company buyers’ alternative sources of susceptor food packaging supply) due to reliance




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on Graphic for susceptor and other food packaging; Graphic is often a “one-stop-shop”

for many food company buyers.

                        Interference with Business Relationships

       39.    On information and belief, Graphic is well-known for asserting its intent to

commence litigation against rivals, including susceptor food packaging rivals, in

communications with food company buyers as a way to deter its customers from entering

into or expanding business relationships with Graphic’s competitors.

       40.    Graphic relies on food company buyers’ unwillingness to be involved in

expensive and time consuming litigation, as well as Graphic’s dominant position in other

markets and ability to withhold packaging supply from food company buyers, to

successfully employ this strategy.

       41.    For example, in a competitive bid process in 2014, Inline was awarded the

right to supply approximately 1.1 billion units of susceptor food packaging products.

Despite this, Inline has received orders for only approximately ten percent of the units

that it had agreed to supply during the pendency of the contracts. On information and

belief, after Inline won the bids, Graphic expressed to the food company buyer that

Graphic intended to sue Inline and therefore the food company buyer should not source

the susceptor products from Inline. On information and belief, Graphic’s conduct led to

Inline receiving orders for units of susceptor food packaging products far below the

amounts agreed to in the bid award. On information and belief, Graphic has secured

orders for the same units that Inline was awarded through the bid process despite losing

or failing to engage in the bid process.


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       42.    Also, for example, Inline sought to manufacture susceptor food packaging

for Nation Pizza Products. Inline representatives have met with Nation Pizza Products

representatives to discuss supplying susceptor food packaging.         On information and

belief, Inline has been unsuccessful in securing a supply contract due to Graphic’s

overtures to Nation Pizza Products that Graphic would sue Inline in the event that Inline

was awarded such a contract. On information and belief, Inline has thus been essentially

“locked out” from dealing with Nation Pizza Products due to its fear of retaliatory action

or suit by Graphic.

       43.    On information and belief, Graphic has foreclosed competition from

existing smaller competitors by misrepresenting to food company buyers that it alone

holds the patent rights to produce certain susceptor food packaging or that other

competitors are violating its patents by manufacturing certain packaging for such food

company buyers. However, when doing so, it has cited invalid, expired, or inapplicable

patents. This has dissuaded food company buyers from even negotiating or dealing with

Graphic’s smaller competitors or potential new entrants. In most instances, Graphic’s

tactics have caused litigation-cautious food company buyers to refrain from challenging

Graphic’s claims.

       44.    On information and belief, Graphic has demonstrated an intent to maintain

and exercise its dominant market position against rivals through the use of, among other

conduct, overtures and statements to food company buyers that other competitors,

including Inline, are infringing on Graphic’s patents and other intellectual property.




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       45.    This and related conduct has foreclosed on the ability for Graphic’s smaller

competitors to even attempt to receive business from food company buyers. It has also

foreclosed competition in the susceptor food packaging industry from food company

buyers that might otherwise decide to make their own susceptor food packaging at lower

costs than prices offered by Graphic.

                 Misappropriation and Misuse of Intellectual Property

       46.    On information and belief, Graphic has misappropriated the designs and

ideas of its competitors in the industry. Graphic has been issued patents that are invalid

due to prior art, sale, and use by its customers and its smaller competitors. Graphic has

thereby misappropriated the investments its customers and smaller competitors have

made, to their own exclusion from the market.

       47.    On information and belief, Graphic has been aggressively applying for

patents that are likely invalid due to prior art, prior sales, and prior use in the industry.

       48.    Graphic has applied for and been issued patents for susceptor food

packaging common to the industry, which inventions Inline has previously sold or seen in

the marketplace. In some cases, its patents are for packaging inventions produced and

sold in the industry for multiple years prior to the patent being applied for.

       49.    For example, Graphic was issued United States Patent No. 8,809,754 on

August 19, 2014. This patent is for a basic susceptor carton with a peel-back lid. Inline

sold and saw this packaging article in the marketplace multiple years in advance of

Graphic’s applications for the patent.




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      50.    For another example, Graphic was issued United States Patent

No. 9,066,375 on June 23, 2015. This patent relates to susceptor food packaging articles.

Inline sold some of the claimed packaging articles in the marketplace multiple years in

advance of Graphic’s applications for the patent.

      51.    On information and belief, Graphic has used these types of obvious and

generic patents to deter competition and to threaten competitors and/or food company

buyers. On information and belief, this conduct has, in part, enabled Graphic to secure

supply contracts for most of the susceptor food packaging market’s needs.

      52.    On information and belief, Graphic has misappropriated other susceptor

packaging manufacturers’ designs and trade secrets to its own benefit. On information

and belief, Graphic has presented these designs as its own, in an effort to maintain its

stranglehold over food company buyers in the susceptor food packaging market.

      53.    For example, Graphic has produced susceptor food packaging for Weight

Watchers’ Smart Ones pizza that copies a design created by Inline for Weight Watchers’

Smart Ones pizza. In 2008, Heinz, distributor of Weight Watchers’ pizza, requested

Inline, which was manufacturing a susceptor sheet for Weight Watchers’ pizza, to

investigate redesigning the sheet. Inline created a more efficient design that was cheaper

to manufacture, but just as effective at crisping and browning pizzas. Inline shared the

design with Heinz under the condition that it remain confidential. Inline subsequently

learned in 2013 that Graphic began copying the packaging designed by Inline for Heinz,

without Inline’s permission. On information and belief, Graphic knew or should have

known that the design created by Inline, bearing its name, but provided by Heinz, was


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confidential and that Heinz owed a duty to Inline to maintain the design’s secrecy and/or

limit its use. Graphic continues to misappropriate Inline’s design.

       54.    Through tactics such as those described above, Graphic has foreclosed

competition from existing rivals and potential rivals in the susceptor food packaging

market.

                           Baiting/Submarine Patent Activities

       55.    Graphic has demanded that competitors cease and desist from continuing to

manufacture packaging after it has been issued a patent that allegedly covers such

packaging. On information and belief, in some cases, Graphic has waited until after such

packaging has become commonplace in the market to apply for such patents, and then

waited months or years after being issued such patents to threaten or bring an action

against its competitors, despite prior knowledge of allegedly infringing competitor

products in the marketplace.

       56.    Graphic has intentionally failed to disclose its intellectual property holdings

during bid processes and other similar circumstances to both its smaller competitors and

food company buyers in an effort to bait competitors into investing substantial resources,

making commitments, and beginning production. On information and belief, after such

costs are made, Graphic routinely threatens or litigates sham or predatory infringement

actions, further and unjustifiably raising rivals’ costs.

       57.    Inline has been a victim of Graphic’s baiting and submarine patent tactics.

       58.    For example, Graphic chose not to competitively bid against Inline for a

substantial susceptor food packaging supply contract in early 2014. Graphic lost to


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Inline’s early bids in a series of similar lots for bidding and discontinued making bids

thereafter. On information and belief, Graphic stopped bidding because it decided to

foreclose Inline from competing in the market through threats of litigation based upon

undisclosed patents that Graphic held and/or had applied for, rather than competing

through a bidding process and lowering its own margins.              These threats were

communicated by Graphic to the food company buyer.

                         RELEVANT PRODUCT MARKET

      59.    Graphic and Inline both operate in the susceptor food packaging market.

      60.    Susceptor food packaging is a type of “active” packaging that converts

microwave energy, in microwave ovens, to high surface temperatures. Specifically, the

susceptor food packaging market includes only active packaging that crisps and browns

foods, which effect cannot be achieved using standard paperboard packaging.

      61.    Susceptor food packaging is used in many microwaveable products that

require crisping and browning for optimal palatability such as pizza, rolls, taquitos, Hot

Pockets, turnovers, sub-sandwiches, hoagies, corn dogs, enchiladas, calzones, pies, small

entrees, and more.

      62.    Susceptor food packages come in many varieties: sleeves, tubs, wraps,

cartons, trays, pads, roll stock, and patches.    Food companies buy susceptor food

packaging from independent manufacturers such as Inline and Graphic.

      63.    On information and belief, the susceptor food packaging industry is

comprised of a small number of market participants. The industry is highly concentrated.




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       64.    Graphic is the largest operator in the industry and manufactures not only

susceptor food packaging, but also other kinds of paperboard packaging in the larger

packaging macro-industry. It is one of the largest participants in the broader packaging

industry.

       65.    The susceptor food packaging industry is subject to many barriers to entry.

Manufacturers are required to make large up-front investments in facilities, machinery,

and raw materials. Often, participation in the industry requires the ownership of various

intellectual property, such as patents, trade design secrets, and copyrights. Relatedly, an

additional barrier to entry is the need to employ engineers, floor staff, designers, and

other individuals with technical backgrounds.          These costs are already absorbed by

incumbents in the market. Additionally, economies of scale and technical know-how

make it difficult for new entrants to compete with established manufacturers

       66.    The most salient barrier to entry is the requirement to form long-term sales

relationships with major food companies and distributors. These relationships can take

two to five years to cultivate before resulting in an actual supply contract. Since supplier

needs are often met through long-term requirements and related contracts, the ability for

new entrants to penetrate the market is extremely difficult because it requires securing

rare, elusive packaging supply contracts.

       67.    Susceptor   food    packaging      has    no   similarly-priced   or   effective

interchangeable substitutes in the packaging industry.         It is the most cost-effective

solution to crisp and brown microwaveable foods.




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       68.    Because of its price and performance optimality, there are no other

economical substitutes for susceptor food packaging.              Even where other packaging

materials can provide acceptable performance at similar prices, few buyers will switch

from using susceptor food packaging to alternative packaging because doing so is time

consuming, costly, and potentially risky.

       69.    Alternatives may not fit food safety guidelines and regulations.

Alternatives may also threaten the value proposition of the food to the typical consumer

by inadequately heating, crisping, or browning food.

       70.    On information and belief, buyers of susceptor food packaging would likely

not switch to an alternative material in response to a small but significant increase in

susceptor food packaging prices, to the extent that such increases would not render such

companies unprofitable.

       71.    On information and belief, due to the barriers of entry in the industry,

general food packaging manufacturers are dissuaded from adapting their production

facilities because of the difficulty of doing so mechanically, but also the difficulty of

securing a deal for such products in the first place.

       72.    On information and belief, due to Graphic’s predatory and anticompetitive

conduct, such as that complained of herein, the susceptor food packaging market has a

pervasive reputation that small competitors and new entrants to the markets will likely be

the recipients of threats of or actual infringement litigation.

       73.    The susceptor food packaging market is the relevant product market within

the meaning of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq. (2012).


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                       RELEVANT GEOGRAPHIC MARKET

       74.    Susceptor food packaging can be distributed anywhere within the United

States, and buyers generally do not discriminate on the basis of a manufacturer’s location.

       75.    Susceptor food packaging manufacturers compete in the broad United

States geographic area.     Potential new entrants may generally establish a presence

anywhere in the continental United States.       Susceptor food packaging products are

generally sold nationwide through distributors and food companies.

       76.    Due to relatively high transportation costs, unfavorable and unpredictable

currency exchange rates, cultural barriers, the difficulty of developing packaging

remotely or across distances, the need to develop significant sales relationship, and other

cost and market disadvantages to importing or exporting packaging materials, a small but

significant increase in the prices of domestic susceptor food packaging would likely not

cause foreign suppliers to increase United States sales in sufficient volumes to make such

a price increase unprofitable.

       77.    On information and belief, Graphic’s conduct has and will have a not

insubstantial effect on both state and interstate commerce.

                           ANTICOMPETITIVE EFFECTS

       78.    Food manufacturers across the United States look for the best prices and

quality when sourcing packaging materials. Consumers of packaged foods are highly

price-sensitive with respect to food purchases. As a result, cost-effective packaging is

essential for success in the susceptor food packaging and microwaveable food markets.




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      79.    Despite price sensitivity, penny increases in price are usually easily

absorbed and translate into thousands to millions in additional sales revenue due to the

scale and quantity of food products sold.

      80.    Packaged prepared food has increased in demand in recent years due to

consumer demand for convenient food. Graphic’s conduct threatens the price and quality

of these products, which also threatens consumer demand for the entire market of

microwaveable food products.

                                   Discount Bundling

      81.    On information and belief, by bundling susceptor food packaging with

other discounted paperboard packaging, Graphic has gathered a premium price on

susceptor food packaging, with artificially-high margins as high as 60% or more.

      82.    On information and belief, Graphic’s discount bundles have foreclosed

competition in the susceptor food packaging market.

      83.    Because Graphic’s bundles for both susceptor food packaging and

paperboard food packaging are sold in large volumes, and either kind of packaging or

both is sold at a discount, when a food company buyer purchases packaging through

Graphic’s discounted bundle, the cost savings are massive.

      84.    The cost savings are so large that Graphic’s competitors operating in the

susceptor food packaging market, but not the paperboard food packaging market, such as

Inline, are precluded from securing contracts with food company buyers who purchase

susceptor and paperboard packaging through Graphic’s discount bundle because, in order




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to do so, Inline and other smaller competitors would need to sell their susceptor food

packaging at a loss.

       85.    Because Graphic is able to provide such substantial overall cost savings in

a bundled sale for both kinds of packaging, it is able to charge a premium price for

susceptor food packaging.

       86.    Despite the fact that Graphic’s smaller competitors, including Inline, who

are just as if not more efficient than Graphic at manufacturing susceptor food packaging,

are willing to sell susceptor food packaging at a lower price and with a lower margin, the

cost savings of the overall discount bundle cannot be overcome; the smaller competitors

cannot absorb the differential between the bundled and unbundled prices of the products

through their own discounts.

       87.    The discount bundles thus effectively force Graphic’s smaller competitors

out of the market. This conduct, in conjunction with Graphic’s other anticompetitive

conduct, has allowed Graphic to maintain its monopoly in the susceptor food packaging

market.

       88.    The barriers to entry of the susceptor food packaging market, along with

Graphic’s historical and continued conduct to deter new entrants, have precluded a free

market solution to this discount bundle problem.

                         Sham Litigation and Threats Thereof

       89.    On information and belief, Graphic’s litigious conduct has enabled it to

maintain and increase its sizable market share, which stands at approximately 95% or

more of the susceptor food packaging market.


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       90.    By asserting its intellectual property rights and monopoly power, both

through sham litigation and threats thereof, Graphic has been able to secure a more-

premium price for susceptor food packaging. This is both because the conduct has

reduced competitive pressure on Graphic and because threats of litigation against

Graphic’s smaller competitors have dissuaded risk-averse food company buyers from

purchasing susceptor food packaging from manufacturers other than Graphic.

       91.    On information and belief, even where Graphic’s patents are valid, non-

expired, or applicable, Graphic’s infringement litigation and threats thereof are merely

concealed attempts to interfere with competitors like Inline. On information and belief,

Graphic’s conduct is designed and purposed on raising its competitors’ costs so as to

reduce their ability to compete.

       92.    By investigating, responding, and defending against such threats, Inline’s

(and other smaller competitors’) overhead expenses increase. Further, such conduct is

designed to denigrate their reputation in the marketplace, so as to interfere with both

existing and prospective business relationships with partners and food company buyers.

Relatedly, the conduct is purposed on dissuading Graphic’s own customers and partners

from contracting with competitors like Inline.

       93.    Using this predatory litigation strategy, Graphic is likely to maintain or

increase its monopoly power in the susceptor food packaging market and its dominant, if

not monopolistic, position in the broader food packaging market. On information and

belief, it may achieve close to 100% market share if its conduct continues without

challenge.


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      94.      On information and belief, Graphic’s large size, strength in the

marketplace, essential facilities and supply, and packaging industry connections have all

enabled it to abuse both competitors and food company buyers in the susceptor food

packaging marketplace through sham infringement litigation and threats thereof.

      95.      On information and belief, Graphic’s litigious conduct was and is designed

solely to deter or delay competitors from entry into or expansion in the susceptor food

packaging market, among other food packaging markets and sub-markets. In particular,

Graphic’s sham litigation and threats thereof are concealed attempts to interfere directly

with the business relationships of its competitors through the judicial process, without

regard to the outcome of such process.

      96.      Graphic’s conduct has foreclosed competition not on the basis of superior

products, business acumen, or historical accident. Instead, the conduct has foreclosed

competition by bullying smaller rivals through threats of and actual litigation against

competitors, among other conduct. The conduct has also dissuaded food company buyers

from contracting with Graphic’s smaller competitors, like Inline.

      97.      On information and belief, Graphic’s conduct has led to artificially-high

susceptor food packaging costs, which have in turn led to artificially-high microwaveable

food prices.    Increased susceptor food packaging costs have affected national food

companies. The packaging moves through multiple states and is sold nationwide. It is

possible that tens of millions of consumers of microwaveable food goods in the United

States may be and have been affected, indirectly, by Graphic’s conduct.




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                        Interference with Business Relationships

      98.      On information and belief, Graphic’s aggressive strategy of interfering with

the prospective and actual contractual relations between Graphic’s competitors and food

company buyers has unreasonably and unfairly impaired the opportunity of rivals, like

Inline, to compete with Graphic in the relevant market.

      99.      Graphic’s conduct has taken advantage of the barriers to entry in the

susceptor food packaging market, most notably the need for strong sales relationships and

the disinclination of food company buyers to become involved in expensive and time

consuming litigation. By threatening litigation and making such threats known to food

company buyers, Graphic has precluded access to food company buyers by smaller

competitors.    It has also precluded the ability for new entrants to develop sales

relationships with food company buyers because food company buyers are unwilling or

unable to challenge Graphic’s claims.

      100.     On information and belief, once Graphic has excluded rivals from

competing for supply contracts with food company buyers, it is able to charge higher

prices and achieve profit margins much greater than would result from competitive

bidding processes. On information and belief, the lack of free competition has led to

higher microwaveable food prices which has threatened demand for the entire

microwaveable food market, hurting both susceptor food packaging manufacturers and

food companies alike.

      101.     Graphic’s interference has, in addition to other conduct, enabled it to

maintain its dominant position in the susceptor food packaging market.


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                Misappropriation and Misuse of Intellectual Property

       102.   Graphic’s misappropriation of trade secrets and other ideas, as well as

Graphic’s patenting of commonplace market articles, has enabled it to engage in

predatory infringement litigation and threats thereof.      Issuance of such intellectual

property has also enabled Graphic to interfere with its smaller competitors’ relationships,

both existing and prospective, with food company buyers.

       103.   In short, Graphic’s misappropriation of other competitors’ designs and

ideas, as well as others already existing in the market, has allowed it to profit on the

shoulders of its smaller competitors and food company buyers.           In some instances

Graphic has misappropriated trade secrets.

       104.   Graphic’s conduct has turned smaller competitors’ ideas against their

original makers. This has enabled Graphic to raise rivals’ costs, as previously described,

and preclude their continued existence or entrance into the susceptor food packaging

market, also as previously described.

       105.   This conduct by Graphic has not only foreclosed competition, but also

enabled Graphic to secure more-premium pricing for its products, leading to unjustifiably

high prices for consumers.

                          Baiting/Submarine Patent Activities

       106.   By intentionally failing to disclose its intellectual property holdings and by

intentionally failing to mark packaging with its patents, Graphic has baited its

competitors into investing substantial resources, making commitments, and beginning

production.


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       107.   On information and belief, after such costs are invested, Graphic routinely

threatens or litigates sham or predatory infringement actions, further and unjustifiably

raising rivals’ costs. Such threats force competitors or potential new entrants to, among

other things, perform costly legal analysis and/or engage in costly redesign and

development efforts to avoid the heavy costs of patent infringement actions. When sued

by Graphic, rivals are forced to investigate, respond to, and defend themselves from

allegations and threats of infringement.

       108.   Because patent infringement litigation is extremely expensive and life-

threatening to small competitors such as Inline, they are forced either to cease

competition with Graphic, exit the market, or settle with Graphic. All of these options

lead to higher costs. If a smaller competitor ceases competition with Graphic, it loses its

investments in ramping up production of the packaging at issue. Exiting the market

means losing investments in machinery, inventory, personnel, reputation, and more.

Settling increases the cost of production.

       109.   The anticompetitive nature of this conduct is further exacerbated and

unjustifiable when the patents cited by Graphic in its litigation or threats thereof are

invalid, expired, or inapplicable. On information and belief, this is often the case.

       110.   Due to the presumption of validity held by patents and the fact that most of

Graphic’s smaller competitors, including Inline, have little to no additional resources

with which to engage in an intellectual property battle, Graphic’s conduct has the effect

of precluding competition from said smaller competitors either on the basis of price or

sheer access to opportunities for supply contracts.


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                     Overall Scheme of Anticompetitive Conduct

       111.   On information and belief, Graphic’s bundling, sham threats and litigation,

baiting tactics, and interference have caused Inline and other smaller competitors to lose

existing and potential business.

       112.   On information and belief, this conduct has excluded potential new rivals

and forced smaller competitors to exit the market.

       113.   On information and belief, Graphic’s conduct forms an overall scheme

designed specifically to maintain Graphic’s monopoly power in the susceptor food

packaging market. Graphic’s monopoly power in this market has already enabled it to

secure monopolistic prices in some contracts.

       114.   Graphic’s conduct has no pro-competitive benefit; it has not resulted in

lower prices or better products for food company buyers or consumers. Instead, it has

resulted in higher prices and reduced quality to both buyers and consumers, through

reduced packaging sourcing options.

       115.   Graphic’s conduct has not increased efficiency or enhanced consumer

appeal for susceptor food packaging.

       116.   On information and belief, Graphic’s conduct directed at Inline has no

legitimate business purpose and has no effect on improving Graphic’s efficiency or

effectiveness at manufacturing susceptor food packaging.

       117.   Graphic’s conduct also does not provide any additional benefits to

consumers. Instead, the conduct has led to increased prices and lower quality.




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       118.   Inline has recently discovered and begun to discover the full breadth of

Graphic’s anticompetitive scheme of conduct. Inline has recently begun to realize the

extensive anticompetitive effect of Graphic’s multifaceted scheme of conduct and the

damages Inline has individually sustained as a consequence thereof, in addition to those

sustained by competitors and consumers.

       119.   On information and belief, Graphic is continuing to engage in the same

scheme of conduct, which Inline reasonably believes continues to harm Inline and

consumers by foreclosing competition in the susceptor food packaging market. This

conduct is a direct, proximate, and continuing cause of monetary loss to Inline in an as

yet not fully calculated amount.

       120.   Because of the breadth and extent of this scheme of conduct and the hidden

effects of the same, Inline cannot by itself fully determine the sales, relationships, and

potential customers it has lost as a result.

         COUNT I: TORTIOUS INTERFERENCE WITH PROSPECTIVE
                        BUSINESS RELATIONS

       121.   Inline realleges and incorporates by reference the allegations stated in

paragraphs 1-120 of this Complaint as if fully set forth herein.

       122.   Inline had a reasonable expectation of economic advantage from continued

business relations with food company buyers that have engaged Inline to provide

susceptor food packaging and/or from business relationships with prospective food

packaging buyers.




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         123.   Graphic was aware of Inline’s expected, advantageous economic relations

with continuing and/or prospective food company buyers.

         124.   Graphic intentionally, tortiously and illegally interfered with Inline’s

reasonable expectations of continued and/or future economic advantage by engaging in

the conduct complained of herein, and Inline was damaged thereby.

         125.   In the absence of Graphic’s interfering conduct, it was reasonably probable

that Inline would have realized its expected economic advantage or benefit.

         126.   As a result of Graphic’s wrongful conduct, Inline is entitled to recover

damages in an amount to be determined at trial.

            COUNT II: TORTIOUS INTERFERENCE WITH EXISTING
                        CONTRACTUAL RELATIONS

         127.   Inline realleges and incorporates by reference the allegations stated in

paragraphs 1-120 of this Complaint as if fully set forth herein.

         128.   Inline has a reasonable expectation of continued business relations with its

customer that engaged Inline to provide susceptor food packaging pursuant to awarded

bids.

         129.   Graphic was aware that Inline has a contractual relationship with this

customer.

         130.   With full knowledge of those agreements, Graphic intentionally caused

Inline’s customer to breach its agreements with Inline.

         131.   The aforementioned interference was not justified and damaged Inline.




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       132.    As a result of Graphic’s wrongful conduct, Inline is entitled to recover

damages in an amount to be determined at trial.

              COUNT III: MISAPPROPRIATION OF TRADE SECRETS,
                            MINN. STAT. § 325C.01

       133.    Inline realleges and incorporates by reference the allegations stated in

paragraphs 1-120 of this Complaint as if fully set forth herein.

       134.    Inline developed a trade secret consisting of a pattern or design that derived

independent actual or potential economic value from not being generally known to the

public and not being readily ascertainable by proper means, by persons who can obtain

economic value from its disclosure or use, and was the subject of efforts that were

reasonable under the circumstances to maintain its secrecy.

       135.    Graphic acquired knowledge of Inline’s trade secret and used the trade

secret without Inline’s express or implied consent.

       136.    Graphic knew, at the time of use, that its knowledge of Inline’s trade secret

was acquired under circumstances giving rise to a duty to maintain its secrecy or limit its

use or was derived from or through a person who owed a duty to Inline to maintain its

secrecy or limit its use.

       137.    Graphic willfully and maliciously misappropriated Inline’s trade secret.

Inline is thus entitled to attorney’s fees under Minn. Stat. § 325C.04 and exemplary

damages under § 325.03(b).

       138.    As a result of Graphic’s wrongful conduct, Inline is entitled to recover

damages in an amount to be determined at trial and appropriate injunctive relief.



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              COUNT IV: VIOLATION OF MINN. STAT. § 325D.52
              MAINTENANCE OR USE OF A MONOPOLY POWER

       139.   Inline realleges and incorporates by reference the allegations stated in

paragraphs 1-120 of this Complaint as if fully set forth herein.

       140.   Graphic’s use of its monopoly power by engaging in the anticompetitive

conduct complained of herein in an effort to affect free and open competition in susceptor

food packaging in the State of Minnesota, constitutes an unreasonable restraint of trade in

violation of Minn. Stat. § 325D.52.

       141.   Graphic’s violation of Minn. Stat. § 325D.52 entitles Inline to treble

damages in an amount to be determined at trial pursuant to Minn. Stat. § 325D.57.

       142.   Graphic’s violation of Minn. Stat. § 325D.52 subjects Graphic to a civil

penalty of not more than $50,000.00 pursuant to Minn. Stat. § 325D.56.

       143.   Graphic’s violation of Minn. Stat. § 325D.52 entitles Inline to recover its

costs and disbursements, including reasonable attorneys’ fees, in having to prosecute this

matter pursuant to Minn. Stat. § 325D.57.

 COUNT V: VIOLATION OF THE SHERMAN ANTITRUST ACT, 15 U.S.C. § 2

       144.   Inline realleges and incorporates by reference the allegations stated in

paragraphs 1-120 of this Complaint as if fully set forth herein.

       145.   Graphic’s use of its monopoly power by engaging in the anticompetitive

conduct complained of herein was undertaken to monopolize susceptor food packaging in

the United States, having the effect of destroying free and open competition in the market

in violation of 15 U.S.C. § 2.



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      146.   Graphic’s anticompetitive conduct has resulted in food company buyers

and consumers paying prices for susceptor food packaging which are higher than if those

buyers had the ability to obtain competitive services through Inline and others, and the

selection of susceptor food packaging manufacturers is lower than they would be if the

restriction on competition unlawfully imposed by Graphic did not exist.

      147.   Graphic’s above-described anticompetitive conduct has and will continue to

cause harm to Inline and free and open competition in the marketplace in violation of

Section 2 of the Sherman Antitrust Act.

      148.   As a result of Graphic’s conduct, Inline is entitled to recover treble

damages in an amount to be determined at trial plus attorneys’ fees and costs pursuant to

15 U.S.C. § 15.

                                PRAYER FOR RELIEF


      WHEREFORE, Inline requests relief from this Court as follows:

      A.     A jury trial on all issues so triable.

      B.     On Count I of the Complaint, judgment in favor of Inline and against

Graphic for damages in an amount to be determined at trial.

      C.     On Count II of the Complaint, judgment in favor of Inline and against

Graphic for damages in an amount to be determined at trial.

      D.     On Count III of the Complaint, judgment in favor of Inline and against

Graphic for damages in an amount to be determined at trial, injunctive relief against

Graphic for a reasonable period of time in order to eliminate Graphic’s commercial



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advantage derived from its misappropriation of Inline’s trade secret under Minn. Stat.

§ 325C.02(a), Inline’s attorney’s fees under § 325C.04, exemplary damages under

§ 325C.03(b), and a protective order preserving the secrecy of Inline’s trade secret by

reasonable means under § 325C.05.

         E.   On Count IV of the Complaint, judgment in favor of Inline and against

Graphic for treble damages in an amount to be determined at trial, plus a civil penalty of

not more than $50,000.00 pursuant to Minn. Stat. § 325D.56, plus all costs and

disbursements, including reasonable attorneys’ fees, in having to prosecute this matter.

         F.   On Count V of the Complaint, judgment in favor of Inline and against

Graphic for treble damages in an amount to be determined at trial, plus all costs and

disbursements, including reasonable attorneys’ fees, in having to prosecute this matter.

         G.   Prejudgment interest.

         H.   An Order awarding any further relief deemed equitable and just by this

Court.

Date: July 31, 2015.                             WINTHROP & WEINSTINE, P.A.

                                                 s/Justice Ericson Lindell
                                                 Robert R. Weinstine (#0115435)
                                                 Justice Ericson Lindell (#312071)

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